           Case 2:23-ap-01426-DS Doc 26 Filed 10/03/24                                            Entered 10/04/24 05:14:10                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Complete Industrial Repair, Inc,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01426-DS
Torres,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 01, 2024                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 03, 2024:
Recip ID                 Recipient Name and Address
pla                    + Complete Industrial Repair, Inc, 7403 Telegraph Road, Montebello, CA 90640-6515
dft                    + Toby Edward Torres, 14115 Elmbrook Avenue, La Mirada, CA 90638-3809

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 03, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 1, 2024 at the address(es) listed
below:
Name                               Email Address
Frank E Marchetti
                                   on behalf of Plaintiff Complete Industrial Repair Inc frank@marchettilaw.com, marchettilaw@gmail.com

Howard M Ehrenberg (TR)
                                   ehrenbergtrustee@gmlaw.com
                                   ca25@ecfcbis.com;C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files@gmlaw.com

Richard G. Heston
                                   on behalf of Defendant Toby Edward Torres rheston@hestonlaw.com
                                   yflores@hestonlaw.com,docs@hestonlaw.com,HestonRR41032@notify.bestcase.com,hestonlaw@recap.email

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov
       Case 2:23-ap-01426-DS Doc 26 Filed 10/03/24         Entered 10/04/24 05:14:10    Desc
                           Imaged Certificate of Notice    Page 2 of 4
District/off: 0973-2                     User: admin                                    Page 2 of 2
Date Rcvd: Oct 01, 2024                  Form ID: pdf031                               Total Noticed: 2
TOTAL: 4
     Case 2:23-ap-01426-DS Doc 26 Filed 10/03/24                          Entered 10/04/24 05:14:10             Desc
                         Imaged Certificate of Notice                     Page 3 of 4


1     RICHARD G. HESTON, Bar No, 90738
      HALLI B. HESTON, Bar No. 90737
2     HESTON & HESTON, Attorneys at Law
      19700 Fairchild Road, Suite 200                                         FILED & ENTERED
3     Irvine, CA 92612
      (949) 222-1041
4     (949) 222-1043 Fax                                                            OCT 01 2024
      rheston@hestonlaw.com
5                                                                              CLERK U.S. BANKRUPTCY COURT
      Attorney for Defendant                                                   Central District of California
                                                                               BY bakchell DEPUTY CLERK
6
                                UNITED STATES BANKRUPTCY COURT
7
                                 CENTRAL DISTRICT OF CALIFORNIA
8
                                           LOS ANGELES DIVISION
9
10    In re:                                               Case No.: 2:23-bk-13864-DS

11    TOBY EDWARD TORRES,                                  Adv. No.: 2:23-ap-01426-DS

12                            Debtor.                      Chapter 7

13                                                         ORDER ON JOINT STIPULATION TO
                                                           CONTINUE PRETRIAL CONFERENCE,
14    COMPLETE INDUSTRIAL REPAIR, INC,                     TRIAL AND RELATED DEADLINES
15                            Plaintiff,

16

17    vs.

18
      TOBY EDWARD TORRES,
19
                             Defendant.
20
21             The court having reviewed and considered the ³Joint Stipulation to Continue Pretrial
22    Conference, Trial and Related Deadlines´ filed on September 20, 2024 as Docket No. 22 and the
23    record in this case, and for good cause shown,
24          IT IS HEREBY ORDERED that:
25             1.     The Joint Stipulation is approved.
26             2.     The October 15, 2024 deadline for the filing of the pre-trial order is vacated.
27             3.     The pre-trial conference scheduled for October 29, 2024 is vacated.
     Case 2:23-ap-01426-DS Doc 26 Filed 10/03/24                      Entered 10/04/24 05:14:10          Desc
                         Imaged Certificate of Notice                 Page 4 of 4


1           4.     The trial scheduled for November 12, 2024 is vacated.

2           5.     The court will hold a status conference on November 12, 2024 at 1 p.m., at which

3                  time counsel for the parties should be prepared to discuss new dates for the pre-

4                  trial order deadline, pre-trial conference, and trial. Counsel may appear in-person

5                  or via ZoomGov.

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24        Date: October 1, 2024

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